U.S. Deparirnent or. Juste Oe EF No. 11, PagelD. PRO SRECHIPT ORD RETURN f

United States Marshals Service See Instructions for “Service of Process by the U.S. Marshal”
on the reverse of this form

 

 

 

 

 

 

 

 

 

 

 

 

PLAINTIFF . COURT CASH NUMBER =
UNITED STATES OF AMERICA 03-8081 0. C 05 “0. w
DEFENDANT TYPE OF PROCESS ToT
AHMAD MUSA JEBRIL and MUSA ABDULLAH JEBRIL PRELIMINARY ORDER OF PORFEITURL
SERVE NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
AT ADDRESS (Stree or AFD, Apartment No., City, State, and ZIP Code)
4
SEND NOTICE OF SERVICH TO REQUESTER AT NAME A 33 BELA | Number of process ba be ist
—-- poterved with this Form - 785

JULIE A. BECK lines, of parties to be served =

Assistant United States Aluortiey 13 CHEE ad

211 W. Fort Streel, Suite 200] MAR | 5 2005 \

Detroit, Michigan 48226-3211 Jhevk for servis on LSA. Loa

eer Ter rt GLEAK'S-OF

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIS ERE}! Orc SERVICE (nelude Business and Alternate Address, All Telephone
Numbers, arid Estimated ‘limes Available For Service)

Post the real property located a at 4909 ROSALIE, DEARBORN, MICHIGAN, pursuant to the attached oreltkinery © Orfler of.
Forfeiture. - fare

: =
CATS ID No. 03-FBI-004255 | | L

ne | |
ie
ture of Aliomey or otha Originator requesting service on behalf of :
_ . &

TELEPHONE nLbyBER DATE
q
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

PEGE 2k February 2, 2005
Lacknowledge receipt for the tulal Total Process Distriet of Origin District lo Serve Si eof Authorized UMS Deputy or Clerk Dai _
number of process indicated, 4 . &
(Sign andy firs’ USM 285 if more than : { a
one USM 285 is submitted) Ne__f No. Na. s A :

  
    
   

 

 

  

 

 

 

 

 

 

 

 

 

1 hereby certify and return that I C7 have vibe adares served, C7 have Iegal evidence of service, C0 have executed as shown in “Remarks”, the process described an the
individual, cormpany, corporation, etc. at the address shown "shove or on the individual, company, corporation, etc., shown at the address inserted below.

0 | hereby certify and and retum that | am unable ta locate the individual, sampany, corporation, et:., samed above (See remarks below).

 

Name and hile of individual served (if not shown abuve). O A parson orMgitbi age & and discretion then ie
. residing in ihe defendant's usual place aluhode.

Address (complete valy if different than shown above) Ey 7 oT Time am
DS | 1S $OC rms
VX Le ar Deputy

 

 

 

 

 

 

 

 

 

 

 

 

Service Feo Total Mileage Charges Forwarding Fee Total Charges Advance Deposits nmol Wise or | Amount or Retund
(includiag endeavers) 4
REMARKS:
4
PRIOR EDITIONS MAY m ‘ ”
BE USED : 1, CLERK OF THE COURT FORM USM 285 (Rev. 12/15/80)

 

 
